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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

 v.                                                        Case No. 11-CR-20129-35

 WAYNE R. WERTH,

            Defendant.
 _________________________/

      ORDER DISREGARDING AND DENYING ALL PRO SE MOTIONS AND FILINGS,
      INSTRUCTING COUNSEL TO REVIEW AND DETERMINE WHETHER TO FILE A
                 MOTION, AND SETTING A STATUS CONFERENCE

         Before the court are multiple filings submitted pro se by Defendant Wayne R.

 Werth. Consistent with previous filings by Defendant, and to the extent they are

 comprehensible, the motions and documents purport to seek relief from this court in

 various forms. Defendant has previously been advised, multiple times, that he is not

 entitled to represent himself while simultaneously represented by counsel. This means

 that, while a criminal defendant has the right to appear pro se or by counsel, the right is

 disjunctive. Thus, a party may chose either to represent himself or to appear through

 an attorney. See McKaskle v. Wiggins, 465 U.S. 168, 183 (1984) (“ Faretta [ v.

 California, 422 U.S. 806, 95 S.Ct. 2525, 45 L.Ed.2d 562 (1975) ] does not require a trial

 judge to permit ‘hybrid’ representation.”); see also United States v. Modena, 430 F.

 App’x 444, 446 (6th Cir. 2011) (finding that the defendant was not entitled to “split[] trial

 responsibilities” with his counsel). After an earlier request to represent himself,

 Defendant reconsidered and clearly and unequivocally chose to be represented by
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 counsel. At the last hearing before the court, the court reaffirmed to Defendant that he

 must therefore speak through counsel. In an August 20, 2014 order, the court clearly

 informed Defendant that it would accept filings only from his attorney. (Dkt. # 913, Pg

 ID 4105.) Inasmuch as Defendant has been expressly informed that the court would not

 accept pro se filings, and his counsel has been expressly informed that it is his

 obligation to bring any necessary motion, the court has disregarded anything submitted

 by Defendant personally. Nonetheless, Defendant persists in filing motions himself.

 The court will hold a status conference with Defendant in attendance to discuss the

 status of the various filings and of Defendant’s representation. Accordingly,

           IT IS ORDERED that all pending pro se documents are expressly

 DISREGARDED and, if necessary, DENIED (See, e.g., Dkt. ## 896, 897, 936, 949, 954,

 955, 974, 1303, 1308, 1353). Defendant’s attorney is DIRECTED to (1) review these

 and any other recent correspondence with his client, (2) meet with his client, and (3) file

 any appropriate motion, or at a minimum a memorandum explaining the status of the

 case from Defendant’s perspective, by June 22, 2015.

           The court will conduct a status conference, on the record, on June 23, 2015 at

 3:00 p.m.

                                                               S/Robert H. Cleland
                                                              ROBERT H. CLELAND
                                                              UNITED STATES DISTRICT JUDGE
 Dated: June 3, 2015

 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, June 3, 2015, by electronic and/or ordinary mail.

                                                               S/Lisa Wagner
                                                              Case Manager and Deputy Clerk
                                                              (313) 234-5522


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